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Last Updated: Jan 2022
FORM 1 (ND/SD MISS. -$1 20)
                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF MISSISSIPPI
                                        GREENVILLE DIVISION
   VICTORIA BARNETT                                                                             PLAINTIFF




  v.                                                           CIVIL ACTION
                                                               NO. 4:22-CV-00004-DAS
   DKNRT, LLC                                                                                   DEFENDANT




                                      CASE MANAGEMENT ORDER
This Order, including all deadlines, has been established with the participation of all parties and can be
modified only by order of the Court on a showing of good cause supported with affidavits, other evidentiary
materials, or reference to portions of the record.

IT IS HEREBY ORDERED:

    1.   ESTIMATED DAYS OF TRIAL:                               2-3
                                                               ________________

         ESTIMATED TOTAL NUMBER OF WITNESSES:                  8
                                                               ________________

         EXPERT TESTIMONY EXPECTED:         Yes         NO. OF EXPERTS:                  5

         Enter explanation (if necessary) here:


    2. ALTERNATIVE DISPUTE RESOLUTION [ADR]. 3LFNRQH

         Alternative dispute resolution techniques appear helpful and will be used in this civil action as follows:


         A Telephonic Settlement Conference is set for November 2, 2022, at 10:00 a.m., before U.S.
         Magistrate Judge Jane M. Virden. The parties are encouraged to begin settlement negotiations at
         least one week prior to the scheduled conference.


    3. CONSENT TO TRIAL BY UNITED STATES MAGISTRATE JUDGE. 3LFNRQH
         The parties consent to trial by a United States Magistrate Judge.
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    4. DISCLOSURE. 3LFNRQH

         The following additional disclosure is needed and is hereby ordered:



         The initial disclosure requirements will be fully complied with within fourteen (14) days after
         the Case Management Conference has been held.




    5. MOTIONS; ISSUE BIFURCATION. 3LFNRQH

        Staged resolution/bifurcation of the trial issues will not assist in the prompt resolution of this action.




       Statement Not Applicable.




    6. DISCOVERY PROVISIONS AND LIMITATIONS.

         A.      Interrogatories are limited to _______
                                                 25     succinct questions.

         B.                                                25
                 Requests for Production are limited to BBBBBBBBVXFFLQFWTXHVWLRQV

         &                                                25 succinct questions.
                 5HTXHVWVIRU$GPLVVLRQVDUHOLPLWHGWR_______

        '.       Depositions are limited to the parties, experts, and no more than

                 _______
                    7    fact witness depositions per party without additional approval of the Court.
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        (.       The parties have complied with the requirements of Local Rule 26(f)(2)(B)   regardingdiscovery
                                                                                 26(I(2)(B) regarding  discovery
                 of electronically stored information and have concluded as follows:
                 of electronically stored information and have concluded as follows:

                 The parties will comply with Local Rule 26(f)(2)(B), but do not expect ESI discovery in this
                 case.




        ). The court imposes the following further discovery provisions or limitations:

        ✔    1. The parties have agreed that defendant may obtain a Fed.R.Civ. P. 35 (L.U.Civ.R. 35) medical examination of the
             plaintiff (within subpoena range of the court) by a physician who has not examined the plaintiff, and that defendant may
             arrange the examination without further order of the court. The examination must be completed in time to comply
             with expert designation discovery deadlines.

        ✔    2. Pursuant to FED.R.EVID. 502(d), the attorney-client privilege and the work-product protections are not waived by any
             disclosure connected within this litigation pending before this Court. Further, the disclosures are not waived in any other
             federal or state proceeding.

        ✔    3. Plaintiff must execute an appropriate, HIPAA-compliant medical authorization.

        ✔    4. The court desires to avoid the necessity of filing written discovery motions where court participation in an informal
             discussion of the issue might resolve it, even after the parties have been unsuccessful in a good faith attempt to do so.
             Consequently, before a party may serve any discovery motion, counsel must first confer in good faith as required by Fed.
             R. Civ. P. 37(a)(1). If the attorney conference does not resolve the dispute, counsel must contact the chambers of the
             magistrate judge to request a telephonic conference to discuss the issue as contemplated by Fed. R. Civ. P.16(b)(3)(B)
             (v). Only if the telephonic conference with the judge is unsuccessful in resolving the issue may a party file a discovery
             motion.

        ✔    5. Other:

             Plaintiff will execute an appropriate Social Security Administration authorization if she has applied
             for or been receiving Social Security Disability.

             The Court will enter a Consent Protective Order as to any confidential information.
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            Additional information:




    7. SCHEDULING DEADLINES

                                          JURY TRIAL
        A. Trial. This action is set for ___________________ during a ____________ term of court

                             May 30, 2023
             beginning on: _____________________,     9:40
                                                  at ________,  a.m.
                                                               ________, in ________________
                                                                             Oxford          ,

                                                Magistrate
             Mississippi, before United States _______________        David Sanders
                                                               Judge ______________________. THE

            ESTIMATED
            THE         NUMBER
                ESTIMATED      OF DAYS
                           NUMBER      FOR FOR
                                   OF DAYS TRIAL IS __________.
                                               TRIAL       2-3 ANY
                                                      IS _______. ANYCONFLICTS
                                                                      CONFLICTSWITH
                                                                                WITH
            THIS TRIAL DATE MUST BE SUBMITTED IN WRITING TO THE TRIAL JUDGE
            THIS TRIAL DATE MUST BE SUBMITTED IN WRITING TO THE TRIAL JUDGE
            IMMEDIATELY UPON RECEIPT OF THIS CASE MANAGEMENT ORDER.
             IMMEDIATELY UPON RECIEPT OF THIS CASE MANAGEMENT ORDER.

                                                         May 2, 2023
        B. Pretrial. The pretrial conference is set on: _____________________, at ________,
                                                                                  1:30      ________,
                                                                                              p.m.

                 Oxford
             in ________________ , Mississippi, before United States ____________________
                                                                      Magistrate

                   David Sanders
             Judge________________________.

                                                            December 9, 2022
        C. Discovery. All discovery must be completed by: _____________________.

        D. Amendments. Motions for joinder of parties or amendments to the pleadings must be

                         August 5, 2022
             filed by: _____________________.

        E. Experts. The parties’ experts must be designated by the following dates:

             1. Plaintiff(s):         October 7, 2022                           .

             2. Defendant(s):         November 4, 2022                              .
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    8. MOTIONS. All dispositive motions and Daubert-type motions challenging another party's expert

        must be filed by: December 23, 2022             .The deadline for motions in limineLVWZHQW\RQH  
        FDOHQGDUGD\VSULRUWRthe pretrial conference; the deadline for responses isIRXUWHHQ  FDOHQGDUdays
        before the pretrialFRQIHUHQFH




    9. SETTLEMENT CONFERENCE.

        A SETTLEMENT CONFERENCE is              November 2, 2022
                                        set on:_____________________,    10:00
                                                                      at ________,  a.m.
                                                                                   ________ in

         Choose City:
        __________________,                                   Magistrate
                            Mississippi, before United States ________________ Judge

         Jane M. Virden
        ____________________.

        AN ADDITIONAL
       Seven            SETTLEMENT
             (7) days before          CONFERENCE
                             the settlement        is set the
                                            conference,    on:parties
                                                               _____________________,    at ________,
                                                                      must submit via e-mail            ________,
                                                                                             to the magistrate

        in __________________, Mississippi, before United States __________________ Judge
       judge’s chambers an updated CONFIDENTIAL SETTLEMENT MEMORANDUM. All parties are
        _____________________.
       required to be present at the conference unless excused by the Court. If a party believes the scheduled
        Seven (7) days before the settlement conference, the parties must submit via e-mail to the magistrate
       settlement conference would not be productive and should be cancelled, the party is directed to inform
        judge’s chambers an updated CONFIDENTIAL SETTLEMENT MEMORANDUM. All parties are
       the Court via e-mail of the grounds for their belief at least seven (7) days prior to the conference.
        required to be present at the conference unless excused by the Court. If a party believes the scheduled

        settlement conference would not be productive and should be cancelled, the party is directed to inform

        the Court via e-mail of the grounds for their belief at least seven (7) days prior to the conference.



    10. REPORT REGARDING ADR. On or before (7 days before FPTC) ______________________, the parties

        must report to the undersigned all ADR efforts they have undertaken to comply with the Local Rules or

        provide sufficient facts to support a finding of just cause for failure to comply. See L.U.Civ.R.83.7(f)(3).



SO ORDERED:


5/6/2022                                /s/ David A. Sanders
                                       ___________________________________________________________
DATE                                   UNITED
                                       UNITED STATES
                                                 STATES MAGISTRATE
                                                          MAGISTRATE JUDGE
                                                                     JUDGE
